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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 18-CR-20743-RAR

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  EMMANUEL JACKSON AND
  TARRESSE LEONARD,

        Defendants.
  _______________________________/

                  ORDER ADOPTING REPORT AND RECOMMENDATION

         THIS MATTER was referred by United States District Judge Robert M. Scola to United

  States Magistrate Judge Edwin G. Torres [ECF No. 39] on March 5, 2019 for a Report and

  Recommendation on Defendant Emmanuel Jackson’s Motion to Suppress Physical Evidence and

  Statements [ECF No. 38] filed on March 3, 2019 (“Motion to Suppress”). After conducting an

  evidentiary hearing on April 23, 2019 regarding Defendant’s Motion to Suppress, Magistrate

  Judge Torres filed a Report and Recommendation [ECF No. 57] on May 1, 2019 (“Report”). In

  his Report, Magistrate Judge Torres recommends that the Motion to Suppress be denied.

  Defendant Emmanuel Jackson filed Objections to the Report [ECF No. 64] on May 13, 2019

  (“Objections”), and this matter is ripe for resolution.

                                      STANDARD OF REVIEW

         A district court reviewing a magistrate judge’s report and recommendation “shall make a

  de novo determination of those portions of the report or specified proposed findings or

  recommendations to which objection is made.” 28 U.S.C. § 636(b)(1). The Court must therefore

  conduct a de novo review if a party files “a proper, specific objection” to a factual finding contained
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  in the report and recommendation. See, e.g., Macort v. Prem, Inc., 208 F. App’x 781, 784 (11th

  Cir. 2006); Jeffrey S. by Ernest S. v. State Bd. of Educ., 896 F.2d 507, 513 (11th Cir. 1990). If no

  party files a timely objection to a factual finding in the report and recommendation, the Court

  reviews that finding for clear error. See Macort, 208 F. App’x at 784. Legal conclusions are

  subject to de novo review even if no party specifically objects. U.S. v. Keel, 164 F. App’x 958,

  961 (11th Cir. 2006); U.S. v. Warren, 687 F.2d 347, 347 (11th Cir. 1982). Mindful of the standard

  of review, the Court has carefully considered and reviewed the Report, Defendant’s Objections,

  the entire file and record, and conducted a de novo review of the issues raised by Defendant’s

  Objections.

                                             ANALYSIS

         Given that Defendant did not own or rent the residence where the search took place,

  Magistrate Judge Torres appropriately began his analysis by focusing on whether Defendant has

  standing to challenge the officers’ entry into the residence. Magistrate Judge Torres properly

  found that Defendant does not have a reasonable expectation of privacy in the home and is

  therefore forestalled from claiming the protection of the Fourth Amendment. U.S. Const. amend

  IV. Mere familiarity with the tenant who leases the home, combined with the fact that Defendant

  received a six second phone call immediately prior to his arrest on May 18, 2018, is wholly

  insufficient to establish a reasonable expectation of privacy. See U.S. v. Merricks, 572 F. App’x

  753, 757 (11th Cir. 2014); Mays v. Davenport, 560 F. App’x 958, 963 (11th Cir. 2014).

         Assuming Defendant has standing, Magistrate Judge Torres also addressed Defendant’s

  contention that the officers lacked probable cause to arrest him and enter the residence.

  Magistrate Judge Torres correctly rejected this argument, finding the record evidence submitted—

  coupled with the detective’s credible testimony—established the existence of probable cause to


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  warrant arrest from the standpoint of an objective reasonable police officer.        See U.S. v.

  Chanthasouxat, 342 F.3d 1271, 1275-77 (11th Cir. 2003). Further, Magistrate Judge Torres

  correctly concluded that the existence of exigent circumstances permitted the warrantless entry of

  the residence based upon the hot pursuit doctrine and the risk of harm to the public. See U.S. v.

  Ramos, 933 F.2d 968, 972 (11th Cir. 1991); see also Shamaeizadeh v. Cunigan, 338 F.3d 535, 548

  (6th Cir. 2003).

                                          CONCLUSION

         Based upon the foregoing, it is hereby ORDERED AND ADJUDGED that United States

  Magistrate Judge Edwin G. Torres’s Report and Recommendation on Defendant’s Motion to

  Suppress [ECF No. 57] is AFFIRMED AND ADOPTED. Accordingly, Defendant’s Motion to

  Suppress [ECF No. 38] is DENIED.



         DONE AND ORDERED in Fort Lauderdale, Florida, this 15th day of May, 2019.




                                                        _________________________________
                                                        RODOLFO RUIZ
                                                        UNITED STATES DISTRICT JUDGE
  cc:    counsel of record




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